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                EXHIBIT A
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                       DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
         Motion: ECF No.       9954

         Memorandum of law: ECF No.                  Ex. D to 9955
         Declaration & supporting exhibits: ECF No.       9955

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
 Exhibit              Description of Plaintiffs                           Cause(s) of Action
     B      Non-U.S. national solatium plaintiff                Intentional Infliction of Emotional Distress
     C      Non-U.S. national estate plaintiffs                 Wrongful Death; Survival




DEFENDANTS
Please list all defendants the plaintiffs are moving against:
         Islamic Republic of Iran



COMPLIANCE                                         2-14
         As stated in ECF No. 9955 at ¶     , counsel followed the quality control measures outlined in
         ECF No. 3433 and adopted in ECF No. 3435.
         As stated in ECF No. 9955 at ¶          , these plaintiffs have not previously received judgments
         against these defendants.            10-14, 31
         Excel versions of any tables attached to the proposed order were emailed to
         Netburn_NYSDChambers@nysd.uscourts.gov on 6 / 20 / 2024 .

SUBJECT MATTER JURISDICTION
    ✔   The Court previously addressed subject matter jurisdiction over these claims in ECF No.                9931

        The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
    ✔   The Court previously addressed personal jurisdiction over these defendants in ECF No.                 9931

        The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS
        This motion requests  new functional equivalence findings;  new personal injury assessments;
         or  resolution of a new issue:
    ✔   This motion does not raise novel factual or legal issues.
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RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

       Member Case &                         Notices of Amendment                  Alternative Service          Affidavit of     Certificate of           Liability
      Operative Complaint                       & Substitutions                          Order                    Service          Default               Judgment
                                      *list entries relevant to moving plaintiffs* *complete if applicable*                                       *leave blank if requesting
                                                                                                                                                  liability judgment*
Lloyd A. Abel Sr., et al. v. Islamic 18cv05320, 60 at 7; 03MD1570, 4474 at                                    MDL ECF No.      MDL ECF No.        9931 (except as for the
Republic of Iran, No. 1:18-cv-11837 7 (dismissing estate claim in Agyeman v.                                  4687             4807               additional information
(GBD) (SN), ECF No. 1                Islamic Republic of Iran)                                                                                    sought for these plaintiffs)

BNY Mellon, et al. v. Islamic                                                                                 MDL ECF No.      MDL ECF No.        9931 (except as for the
Republic of Iran, No. 1:19-cv-11767                                                                           6899             6935               additional information
(GBD) (SN), ECF No. 5                                                                                                                             sought for these plaintiffs)

Deborah Bodner, et al. v. Islamic   MDL ECF No. 8141 at 3                                                     MDL ECF No.      MDL ECF No.        9931 (except as for the
Republic of Iran, No. 1:19-cv-11776                                                                           6897             6934               additional information
(GBD) (SN), ECF No. 5                                                                                                                             sought for these plaintiffs)

Ber Barry Aron, et al. v. Islamic                                                                             MDL ECF No.      MDL ECF No.        9931 (except as for the
Republic of Iran, No. 1:20-cv-09376                                                                           6894             6937               additional information
(GBD) (SN), ECF No. 1                                                                                                                             sought for these plaintiffs)
